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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO
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IN RE: SHALE OIL ANTITRUST LITIGATION                    Case No. 1:24-md-03119-MLG-LF

This Order Relates to All Cases

                            NOTICE OF HEARING SCHEDULE

        Below is a tentative schedule setting out tomorrow’s (May 20, 2025) arguments on

Defendants’ motions to dismiss (“MTD”). Per the parties’ request, I will first hear Defendants’

Joint MTD. I will then hear argument as to each of the individual MTDs. The tentative schedule

is as follows.

                   Motion Title                      Argument        Response         Reply
 Defendants’ Joint MTD                               9:30 – 10:45   10:45 – 11:45 11:45 – 12:05
 Lunch Break
 Permian’s MTD and Request for Judicial Notice       1:15 – 1:25    1:30 – 1:40
 Continental’s MTD                                   1:45 – 1:55    2:00 – 2:10
 Diamondback’s MTD                                   2:15 – 2:25    2:30 – 2:40
 Ten Minute Break
 EOG’s MTD                                           2:50 – 3:00    3:05 – 3:15
 Occidental’s MTD                                    3:20 – 3:30    3:35 – 3:45
 Expand’s MTD                                        3:50 – 4:00    4:05 – 4:15
 Hess Corp.’s MTD                                    4:20 – 4:30    4:35 – 4:45
 Pioneer’s MTD                                       4:50 – 5:00    5:05 – 5:15

If we do not spend the entire morning addressing the Joint MTD, then we can use that additional

time for argument on individual MTDs.




                                                      UNITED STATES DISTRICT JUDGE
                                                      MATTHEW L. GARCIA




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